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UNITED STATES DISTRICT COURT 5p,
MIDDLE DISTRICT OF FLORIDA bAUG-9 py jy 37
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UNITED STATES OF AMERICA, FORT MA! FLoRiog A
STATE OF FLORIDA and STATE
OF MARYLAND

ex rel. JAMIE WILLIAMS, CASE NO.:

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Plaintiffs,

Vv. (FILED UNDER SEAL)
SAVN ADMINISTRATIVE SERVICES, INC.;
ADVANCED IMAGING OF PORT
CHARLOTTE, LLC; SRA VENTURES, INC.
d/b/a WESTCOAST RADIOLOGY; CRYSTAL
CLEAR IMAGING, LTD.; BALTIMORE
SUBURBAN HEALTH, LLC; M-SQUARED
DIAGNOSTICS, LLC d/b/a NEXT
GENERATION MRI and NEENA KANWAR,

Rd de dd

Defendants.

 

QUI TAM COMPLAINT

 

This is an action brought by Plaintiff/Relator Jamie Williams on behalf of the United
States of America, the State of Florida and the State of Maryland (collectively “the
Government”). In support thereof, Relator alleges as follows:

1. From at least 2013, and continuing through the present, SAVN Administrative
Services, Inc.; Advanced Imaging of Port Charlotte, LLC; SRA Ventures d/b/a Westcoast
Radiology; Crystal Clear Imaging, LTD; Baltimore Suburban Health, LLC; M-Squared
Diagnostics, LLC d/b/a Next Generation MRI; and Neena Kanwar (collectively “Defendants”),
international providers of diagnostic imaging services, have engaged in a scheme to defraud the

United States and the above-captioned Plaintiff States by knowingly submitting and/or causing to

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be submitted false and/or fraudulent claims to government healthcare programs. As explained in
greater detail herein, Defendants knowingly and purposefully engage in numerous schemes
designed to defraud government healthcare programs such as Medicare, Medicaid, and
CHAMPUS/TRICARE (collectively “Government Payors”). Defendants abuse modifiers and
falsify documentation on billing submissions in order to double-bill, improperly increase
reimbursements, and receive reimbursements to which they are not entitled.

2. The Federal False Claims Act, 31 U.S.C. §§ 3729-3732 (“FCA”) provides that
any person who knowingly submits or causes to be submitted to the government a false or
fraudulent claim for payment or approval is liable for a civil penalty of between $5,500 and
$11,000 for each such claim, and three times the amount of the damages sustained by the
government. The FCA permits persons having information regarding a false or fraudulent claim
against the government to bring an action on behalf of the government and to share in any
recovery. The complaint must be filed under seal, without service on the defendant. The
complaint remains under seal while the government conducts an investigation of the allegations
in the complaint and determines whether to join the action.

3. Pursuant to the FCA, Plaintiff/Relator seeks to recover on behalf of the United
States and the States listed in this complaint, damages and civil penalties arising from
Defendants’ fraudulent billing of government healthcare programs.

PARTIES

4, The United States of America and the Plaintiff States are the real parties of
interest in this case.

5. Relator Jamie Williams is a resident of Punta Gorda, Florida. She is currently

working as a Collections Specialist for Defendant SAVN Administrative Services, Inc.
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(“SAVN”), located in Port Charlotte, Florida. She has been with the company since May 16,
2013. Relator handles the billing for the Defendant corporations listed in this Complaint. She
works alongside approximately fifty other employees in the billing department at SAVN.
Relator’s position as Collections Specialist gives her firsthand knowledge of Defendants’ billing
submissions to government healthcare programs.

6. Defendant Neena Kanwar (“Kanwar”) is the President and CEO of Defendants
SAVN, Advanced Imaging of Port Charlotte, LLC, SRA Ventures d/b/a Westcoast Radiology,
Crystal Clear Imaging, LTD, and M-Squared Diagnostics, LLC d/b/a Next Generation MRI.

7. Defendant SAVN is located in Port Charlotte, Florida. Defendant SAVN provides
billing services for all of the Defendant facilities named in this Complaint.

8. Defendant Advanced Imaging of Port Charlotte, LLC (“Advanced Imaging”) is a
diagnostic radiology facility located in Port Charlotte, Florida.

9. Defendant SRA Ventures d/b/a Westcoast Radiology (“Westcoast Radiology”) is
a diagnostic radiology facility located in Clearwater, Florida.

10. Defendant Crystal Clear Imaging, LTD (“Crystal Clear Imaging”) is an outpatient
medical imaging center located in Springfield, Ohio.

11. Defendant Baltimore Suburban Health, LLC is a primary care facility located in
Pikesville, Maryland.

12. Defendant M-Squared Diagnostics, LLC d/b/a Next Generation MRI (“Next
Generation MRI”) was a diagnostic radiology facility located in Columbus, Maryland. Next
Generation MRI closed in February 2016.

JURISDICTION AND VENUE
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13. This action arises under the Federal False Claims Act, 31 U.S.C. §§ 3729-3732,
and the State False Claims Acts for the above-captioned States. This Court has jurisdiction over
this action pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1345, 28 U.S.C. § 1367 and 31 U.S.C. §
3732(a), which specifically confers jurisdiction on this Court for actions brought under 31 U.S.C.
§ 3730. Additionally, 31 U.S.C. § 3732(b) specifically confers jurisdiction on this Court for
State-law claims that arise under the same transactions or occurrences as the action brought
under 31 U.S.C. § 3730.

14. | This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §
3732(a), which authorizes nationwide service of process, because Defendants can be found in,
reside in, transact business in, and/or have committed the alleged acts in Port Charlotte, Florida,
which is in the Middle District of Florida.

15. | Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c) and 31 U.S.C.
§ 3732(a) because Defendants can be found in, reside in, or have transacted business in the
Middle District of Florida, and many of the alleged acts occurred in this District.

16. _ Relator is an original source as defined by the FCA in 31 U.S.C. § 3730(e)(4)(B).
Relator has made voluntary disclosures to the United States and the above captioned Plaintiff
States prior to the filing of this lawsuit, as required by 31 U.S.C. § 3730(b)(2).

REGULATORY OVERVIEW
The Federal and State False Claims Acts

17. The FCA, as amended by the Fraud Enforcement and Recovery Act of 2009, Pub.

L. No. 111-21' provides, in relevant part:

Liability for Certain Acts. (1) In General—Subject to paragraph (2), any person
who—(A) knowingly presents, or causes to be presented, a false or fraudulent

 

The FCA was further amended on March 23, 2010 by the Patient Protection and Affordable Care Act (“PPACA”),
Pub. L. 111-148, 124 Stat. 199. PPACA did not impact the portions of the FCA quoted here.

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claim for payment or approval; (B) knowingly makes, uses, or causes to be made

or used, a false record or statement material to a false or fraudulent claim; ... or

(G) knowingly makes, uses, or causes to be made or used a false record or

statement material to an obligation to pay or transmit money or property to the

Government, or knowingly conceals or knowingly and improperly avoids or

decreases an obligation to pay or transmit money or property to the Government,

is liable to the United States for a civil penalty of not less than [$5,500] and not

more than [$11,000] ... plus 3 times the amount of damages which the

Government sustains because of the act of that person.

31 U.S.C. § 3729(a)(1).

Actions by Private Persons. (1) A person may bring a civil action for a violation

of section 3729 for the person and for the United States Government. The action

shall be brought in the name of the Government.

31 U.S.C. § 3730(b)(1).

18. Additionally, many states have passed FCA legislation, which, in most instances,
closely tracks the Federal FCA. Defendants’ acts alleged herein also constitute violations of the
Florida False Claims Act, Fla. Stat. § 68.081, et seg. (“Florida FCA”) and the Maryland False
Health Claims Act, Maryland Laws Ch. 4 (S.B. 279) 2-601, et seg. (“Maryland FCA”)

19. Relator seeks to recover damages and civil penalties in the name of the United
States of America, the State of Florida, and the State of Maryland arising from the false
statements and fraudulent claims for payment made by Defendants.

Government Healthcare Programs

20. The Medicare Program (“Medicare”) is a health insurance program administered
by the United States government that is funded by taxpayer revenue. Medicare is directed by the
United States Health and Human Services Department (“HHS”). Medicare was designed to assist

participating States in providing medical services and durable medical equipment to persons over

sixty-five (65) years of age and certain others who qualify.
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21. The Medicaid Program (“Medicaid”) is a health insurance program administered
by the United States government that is funded by State and Federal taxpayer revenue. It is
overseen by HHS. Medicaid was designed to assist participating states in providing medical
services, durable medical equipment, and prescription drugs to financially-needy individuals who
qualify.

22. © CHAMPUS/TRICARE is a federally-funded program that provides medical
benefits to (a) the spouses and unmarried children of (1) active duty and retired service members
and (2) reservists who were ordered to active duty for thirty (30) days or longer; (b) the
unmarried spouses and children of deceased service members; and (c) retirees.

Current Procedural Terminology Codes

23. Current Procedural Terminology codes (“CPT codes”) are numbers assigned to
every task and service a medical practitioner may provide to a patient, including medical,
surgical and diagnostic services. CPT codes are used by providers to determine the amount of
reimbursement they are owed for the services that they render.

24. The use of CPT modifiers is an important part of coding and billing for health
care services. Procedure codes may be modified under certain circumstances to more accurately
represent the service or item rendered. Modifiers are used to add information or change the
description of a service in order to improve accuracy or specificity. The documentation of the
service provided must support the use of the modifier.

25. For purposes of this Complaint, the relevant modifiers are the Q6 modifier and the
PS modifier.

26. The Q6 modifier is appropriately added to a CPT code when the service was

furnished by a locum tenens physician. The Center for Medicare and Medicaid Services
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(“CMS”) developed the Q6 modifier specifically to address billing concerns when a physician is
away from his or her regular practice; the Q6 modifier designation informs government
healthcare providers that a “locum” has stepped into the practice on a temporary basis to provide
continuation of medical care. CMS allows a locum to provide services for a maximum of 60
continuous days for the absentee physician. The following elements must be present for the Q6
modifier to be appropriately used:
e The locum physician agrees to see patients of another physician under
arrangements of the original physician;
e The original physician is not available to see patients;
e The patient arranges or seeks service of his or her original physician; and
e The locum physician who sees the patient is not in practice for himself or
employed as part of another practice.
27. The following constitute inappropriate uses for the Q6 modifier:
¢ When the locum physician bills for covering the long-term absence of the original
physician (more than 60 days);
e When the locum physician is within the same practice as the original physician.
28. The PS modifier is appropriately added to a Positron Emission Tomography
(“PET”) scan CPT code when the beneficiary’s treating physician determines that an additional
PET scan is needed to determine subsequent anti-tumor strategy for the treatment of cancer.
29. PET scans are approved for reimbursement under the Medicare program. Prior to
June 2013, Medicare reimbursed for one original PET scan and one subsequent PET scan; as of
June 2013, Medicare reimburses for up to three PET scans.

ALLEGATIONS
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Defendants Knowingly Abuse Modifiers and Falsify Documentation in Order to Receive
Reimbursements from Government Healthcare Programs to which they are not Entitled

30. Relator began her employment with Defendant SAVN in May 2013. Defendant
SAVN is the sole billing facility used by the other Defendant corporations named in this
Complaint. Therefore, Relator has firsthand knowledge of all improper billing practices alleged
herein.

31. Defendants utilize several schemes designed to defraud Government
Payors. They are described in more detail below.

A. Defendants knowingly abuse the Q6 modifier in order to obtain government funds
to which they are not entitled.

32. Defendants misuse the Q6 modifier to defraud Government Payors. This practice
has been ongoing since at least 2013.

33. Defendants’ fraudulent use of the Q6 modifier occurs when their physicians have
expired, denied or revoked credentials. Credentialing is the primary source verification of a
healthcare provider’s education, training, work experience, and licensing. It is a CMS
requirement completed by physicians using forms 855i and 855r, or through CMS’s Provider
Enrollment Chain and Ownership System (“PECOS”). Physicians resubmit their credentialing
documentation every three years, or more often if required by the State in which they are
working.

34. Relator became aware of Defendants’ improper use of the Q6 modifier around
October 2013. The fraudulent activity came to light for Relator when she realized that one of
Defendants’ doctors, Dr. Thomas Fabian (NPI 1669466462), was reading patients’ results for all
of Defendants’ facilities, even though he was not credentialed. Government Payors rejected the

majority of his claims because Dr. Fabian was not credentialed so the Defendants needed a way
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to obtain reimbursement for his services. Defendants decided to overcome the denials by
instructing Relator and others in the billing department to use a credentialed doctor’s name in
place of Dr. Fabian’s and to attach a Q6 modifier to all of his claims submitted to Government
Payors. That way, Defendants could get the reimbursements despite the fact that Dr. Fabian was
not credentialed, because it would appear as though a locum tenens physician had done the work
instead of Dr. Fabian.

35. Not only was this practice blatantly fraudulent because of the falsified
information on claims submitted to Government Payors, it was also improper because
Defendants used the names of their own physicians as alleged “locum tenens” physicians. This is
an inappropriate use of the Q6 modifier, which can only be used for locum physicians who
substitute for original physicians who are not within the same practice group.

36. Dr. Fabian continued to read results for patients at all of Defendants’ facilities for
roughly two years with expired credentials. He eventually regained his credentialing in July
2015. Defendants improperly billed Government Payors for Dr. Fabian’s services throughout
that time period by fraudulently using the Q6 modifier and other physicians’ names on his billing
submissions. Once Dr. Fabian’s credentials were restored, Defendants instructed Relator and
others in Defendant SAVN’s billing department to re-submit all of Dr. Fabian’s claims from
mid-2013 through July of 2015 without the Q6 modifier, in an effort to double-bill for services
that were improperly billed to Government Payors in the first place. Defendants refer to this
scheme as implementing “mass re-bills.”

37. | A-second mass re-bill followed in or around November 2015. This mass re-bill
involved re-submitting claims for Dr. Samer Salhab (NPI 1225296411), who had been working

for Defendants’ facilities for approximately one year while using expired credentials.
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Throughout the time period during which Dr. Salhab’s credentials were expired, Defendants
fraudulently altered claims for reimbursement to Government Payors by using a credentialed
doctor’s name in place of Dr. Salhab’s, and by improperly adding the Q6 modifier. Once Dr.
Salhab regained his credentialing in or around November 2015, Defendants re-submitted roughly
a year’s worth of his claims to Government Payors. This re-bill resulted in more than $2 million
of fraudulently obtained funds for Defendants. The claims submitted by Defendants in that re-bill
show Dr. Salhab’s name, but reflect a time period during which Dr. Salhab was not credentialed.

38. Defendants’ double-billing of Dr. Salhab’s claims was intentional. Relator’s
supervisor, Kim Ridley, at Defendant Kanwar’s instruction, told Relator that she wanted a “mass
re-bill” for Dr. Salhab’s claims in order to “get as much cash as they could get.” In a November
13, 2015 email to Relator, Ms. Ridley writes:

I need to know how we can zero out all claims for Medicare and do the mass

rebill on them. We can only go back and [sic] year and technically we should do

Medicaid too, but let’s get the Medicare done now. Need an answer today.

39. Elements of the November 2015 re-bill are reflected in a RealMed output that was

obtained by Relator. (See Exhibit A). It shows claims submitted for re-bill by Defendant

Advanced Imaging from 11/04/15 to 11/18/15, and contains, in part, the following information:

 

 

 

Rtn to Prov. Suspended Total Submitted | Total Claims
19 12 3740 3771
$12141.06 $10030.00 $1335061.78 $1357232.84

 

 

 

 

 

 

The chart above shows the results of a mass re-bill submission: 19 claims were immediately
bounced back to Defendants due to missing information; 12 claims were suspended because of
information that was in need of correction; and 3740 claims (totaling $1,357,232.84) were

immediately accepted for Medicare processing.

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40. Defendants instructed Relator and others in Defendant SAVN’s billing
department to “send EDI” on the suspended claims; “sending EDI” refers to an Electronic Data
Interchange transaction, which is an automated transfer of data between Medicare and its
contractors. Defendants abused the EDI process and used it as a way to bypass the software
designed to catch improper claims, and to force the suspended claims through to Medicare for
reimbursement.

41. Relator was present the day the Medicare funds from the November 2015 re-bill
were deposited into Defendant Advanced Imaging’s account. Part of her job entails loading the
remits into Defendants’ system, and she is required to tell Ms. Ridley each time payments on
outdated or re-billed claims come in.

42. Another mass re-bill followed in or around March 2016, and resulted in
approximately $5 million of fraudulently-obtained funds for Defendants. This re-bill involved
the same scheme as described above. Defendants abused the Q6 modifier in order to bill for non-
credentialed doctors’ services at their facilities across the country. Defendants instructed Relator
and others in Defendant SAVN’s billing department to “pick a credentialed doctor and add a Q6
modifier” if they received claims to submit for non-credentialed physicians. Relator estimates
that approximately 75 percent of the time, the doctor’s name on the original patient report and
the doctor’s name on the billing submission for the same patient report do not match.

43. Defendants used numerous doctors in the scheme described above. Those doctors,
some of whom are referenced in text messages exchanged between Relator and her supervisor,
Ms. Ridley, include, but are not limited to:

Dr. Samer Salhab
Dr. Thomas Garrett

Dr. Robert Girguis
Dr. Emad Lei

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Dr. Arthur Ballard
Dr. Joseph Ridgeway
Dr. Robin Osborn
Dr. Xia Parker

Dr. Thomas Fabian
Dr. Orlando Castillo
Dr. Dana Borgeson
Dr. Falguni Patel

44. The re-bills occur by facility, and reimbursements come back by facility. Most
facilities use a branch of Huntington Bank; Defendant Baltimore Suburban Health uses PNC
Bank. The following is an overview of Defendants’ account information:

e Huntington National Bank, 2374 Lakeview Dr., Beavercreek, Ohio 45431
Routing number: 042215060

Defendant Crystal Clear Imaging account number: 01442002733
Defendant KMH account number: 01442005015

Defendant Advanced Imaging account number: 01442005028

Defendant Next Generation MRI account number: 01442011407
Defendant Westcoast Radiology account number: 01442018484

45. Relator asserts that the majority of the claims contained within the mass re-bills
submitted by Defendants had already been paid once with the Q6 modifier improperly attached
to claims that were originally submitted for physicians with expired credentials. Relator is aware
that the re-bills were done purposefully and that Defendants had no intention of returning funds
to Government Payors if a claim was paid twice. After one of the re-bills, Relator directly asked
Ms. Ridley if they were planning to return any of the money to the Government, and Ms. Ridley
replied that there would be “no refunds.” When Relator asked Ms. Ridley if Defendants’ actions
regarding the re-bill were illegal, Ms. Ridley responded that Relator should do as she was told if
Relator wanted to keep her job.

46. Defendants’ fraudulent conduct regarding the mass re-bills is ongoing. Two more
re-bills occurred on May 27, 2016: one for Defendant Advance Imaging that involved the re-

submission of 1,121 claims for $441,541.13, and one for Defendant Westcoast Radiology that
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totaled $181,930.11. Relator is aware that Defendants have received improper reimbursements
from the May 27 re-bills. (See Exhibit B).

B. Defendants purposely abuse the PS modifier in order to receive reimbursements
from Government Payors to which they are not entitled.

47. Defendants misuse the PS modifier in order to obtain improper reimbursements
for denied and/or outdated PET scan claims. Prior to June 2013, CMS allowed reimbursement
for one PET scan and one follow-up PET scan, if a follow-up was medically necessary.
Beginning in June 2013, CMS expanded PET scan coverage to allow for two follow-up scans.
PS modifiers are appropriately added to PET scan submissions to indicate that they are medically
necessary follow-up procedures.

48. Both before and after June 2013, Defendants improperly added PS modifiers in
order to obtain reimbursement for PET scans that were outside the scope of CMS coverage.

49. This fraudulent practice is referenced in a text message exchange between Relator
and Ms. Ridley:

$5774.04 old Medicare money. Heather had the PS modifier added and they are

coming back thru [sic] and paying old denied PETs. That’s just for AIPC

[Defendant Advanced Imaging].

50. Defendants’ abuse of the PS modifier is ongoing.

Cc. Defendants falsify documentation in order to increase reimbursements from
Government Payors.

51. In addition to the improper addition of Q6 and PS modifiers on submissions to
Government Payors, Defendants instruct employees in their billing department, such as Relator,
to change dates of service in order to get claims paid that would otherwise be rejected.
Specifically, Ms. Ridley instructs employees at Defendant SAVN to change the dates on claims

that are no longer timely, in order to get improper reimbursements from Government Payors.

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52. Relator is aware that Defendant SAVN submits falsified claims for payment to
Government Payors on behalf of Defendant Westcoast Radiology. Ms. Ridley instructs
Defendant SAVN’s coders to code for the maximum amount possible each time they prepare
claims for payment for radiopharmaceutical dosages, even if the maximum dosage is not actually
given to the patient. Fraudulent radiology claims are submitted in order to obtain improperly
inflated reimbursements from Government Payors.

53. Defendant SAVN also submits falsified claims for payment to Government
Payors on behalf of Defendant Baltimore Suburban. Defendant Baltimore Suburban instructs
Defendant SAVN’s coders to upcode bills for vaccinations and office visits that are submitted to
Government Payors. For example, Defendant Baltimore Suburban instructs Defendant SAVN to
code 15-minute patient visits as 45-minute patient visits on claims for payment for services.
Defendant Baltimore Suburban also instructs Defendant SAVN to upcode certain vaccinations in
order to obtain higher reimbursements than those to which it is entitled. Relator is aware of these
practices because she is responsible for submitting claims for all of Defendants’ facilities.

54. _ Each time Relator attempts to question Ms. Ridley about Defendants’ improper
billing practices, she is told to do as instructed if she wants to keep her job. Ms. Ridley, on the
other hand, has received several promotions; the most recent occurring in May 2016 when she
was promoted to Vice President of Operations, U.S. Division. Defendant Kanwar made the
announcement in a company-wide email:

Kim has been doing an amazing job with the billing department and the marketing
department leading to an increase in collections and an increase in referrals [sic]
sources as well as payor contracts.

55. Defendants’ improper falsification of documentation on claims submitted to

Government Payors is ongoing.

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D. Defendants “clone” and re-submit previously denied claims to Government Payors
in order to receive payments to which they are not entitled.

56. On June 15, 2016, Ms. Ridley instructed Relator and nine other employees of
Defendant SAVN to “clone” as many old, denied claims as possible and to re-submit them to
Government Payors in an attempt to get reimbursements to which Defendants are not entitled. In
order to “clone” claims, Relator was told to go into Defendants’ web-based claims transmission
software, Availity, find an old claim that had previously been denied by Government Payors,
click “clone” to make a duplicate of the claim, and click “send” to submit it to Government
Payors for reimbursement.

57. Relator and others at Defendant SAVN were told that they can “pick any claims,”
but to focus on those that are older than 151 days on the Accounts Receivable (“AR”) report
because those claims are “old money” and they need to be collected in order to lower the
percentage of non-reimbursed claims on the AR report.

58. Ms. Ridley instructed Relator and other SAVN employees to try to get the cloned
claims paid by altering the diagnoses on the submissions. The diagnoses from the original patient
accounts are changed without doctor consent, cloned, and then re-submitted to Government
Payors.

59. For example, a cloned claim with a changed diagnosis appears on Patient A’s

account in Defendants’ billing system as follows:

 

CLONED CLAIM IN REALMED- USED DX 627.2 AS PRIMARY-- RESENT

 

 

 

In the example above, the original claim—which was denied by Medicare—was subsequently
altered to indicate diagnosis code 627.2 instead of the original diagnosis code and then cloned

and submitted to Medicare by Defendants. (See Exhibit C).

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60. Defendants engage in this fraudulent behavior in order to artificially inflate
submission numbers and to try and extract payments from denied claims.

61. Defendants’ conduct regarding the altering, cloning, and resubmission of
previously denied claims is ongoing.

E. Defendants’ knowledge of the fraud is company-wide.

62. Defendant Kanwar, President and CEO of five of the six Defendant corporations
named in this Complaint, is aware of all of the fraudulent billing practices that have been alleged
in this Complaint. Many emails referencing the improper behavior are copied to “Supervisor
USA,” “Billings US,” and/or “BillAuth,” all of which go to Defendant Kanwar. Additionally,
Relator has been present during conversations including Defendant Kanwar about the fraudulent
billing, and has text messages that reflect Defendant Kanwar’s knowledge of the various
schemes described above.

COUNT I
VIOLATION OF THE FEDERAL FALSE CLAIMS ACT

63. Relator incorporates paragraphs 1 through 62 of this Complaint as though fully set
forth herein. This count sets forth claims for treble damages and forfeitures under the Federal
False Claims Act, 31 U.S.C. §§ 3729-3732.

64. As described in greater detail above, Defendants abused government healthcare
programs, including the Medicare program, in connection with the improper billing of modifiers
Q6 and PS and the purposeful falsification of billing submissions.

65. Under the Federal False Claims Act, 31 U.S.C. § 3729(a)(1), as amended on May
20, 2009, Defendants have therefore violated:

i. 310U.S.C. § 3729(a)(1)(A) by knowingly presenting, or causing to be presented, a

false or fraudulent claim for payment or approval;

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ii. 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using, or causing to be made or
used, a false record or statement material to a false or fraudulent claim; and

iii. 31 U.S.C. § 3729(a)(1)(C) by conspiring to commit a violation of 31 U.S.C. §
3729(a)(1)(A) and (a)(1)(B).

66. Because of the false claims made by Defendants, the United States has suffered
and continues to suffer damages, and is therefore entitled to a recovery as provided by the FCA
of an amount to be determined at trial, plus a civil penalty of $5,500 to $11,000 for each
violation.

COUNT II
VIOLATION OF THE REVERSE FALSE CLAIMS ACT

67. Relator incorporates paragraphs | through 62 of this Complaint as though fully set
forth herein. This count sets forth claims for damages under the Reverse False Claims Act, 31
US.C. § 3729(a)(1).

68. Defendants have violated 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using,
or causing to be made or used a false record or statement material to an obligation to pay or
transmit money or property to the Government, or knowingly concealing or knowingly and
improperly avoiding or decreasing an obligation to pay or transmit money or property to the
Government.

69. Defendants’ fraudulent concealment and intentional failure to report
overpayments in order to avoid refunding federal money to Government Payors constitutes an
unlawful avoidance of an obligation to money owed to the United States.

70. Asadirect result of Defendants’ conduct, the United States has suffered damages
and is therefore entitled to recovery as provided by the False Claims Act.

COUNT III

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VIOLATION OF THE FLORIDA FALSE CLAIMS ACT

71. Relator incorporates paragraphs 1 through 62 of this Complaint as though fully set
forth herein. This count sets forth claims for treble damages and forfeitures under the Florida
False Claims Acct, Fla. Stat. § 68.081, et seq.

72. As described in greater detail above, Defendants abused government healthcare
programs, including the Florida Medicaid program, in connection with the improper billing of
modifiers Q6 and PS and the purposeful falsification of billing submissions.

73. Under the Florida False Claims Act, Fla. Stat. § 68.082(2), Defendants have
therefore violated:

i. Fla. Stat. § 68.082(2)(a) by knowingly presenting or causing to be presented to an
officer or employee of an agency a false or fraudulent claim for payment or
approval;

ii. Fla. Stat. § 68.082(2)(b) by knowingly making, using, or causing to be made or
used a false record or statement to get a false or fraudulent claim paid or approved
by an agency; and

iti. Fla. Stat. § 68.082(2)(c) by conspiring to submit a false or fraudulent claim to an
agency or to deceive an agency for the purpose of getting a false or fraudulent
claim allowed or paid.

74. Because of the false claims made by Defendants, the State of Florida has suffered
and continues to suffer damages, and is therefore entitled to a recovery as provided by the
Florida False Claims Act of an amount to be determined at trial, plus a civil penalty of $5,500 to
$11,000 for each violation.

COUNT IV
VIOLATION OF THE MARYLAND FALSE HEALTH CLAIMS ACT

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75. Relator incorporates paragraphs 1 through 62 of this Complaint as though fully set
forth herein. This count sets forth claims for treble damages and forfeitures under the Maryland
False Health Claims Act, Maryland Laws Ch. 4 (S.B. 279) 2-602, et seq.

76. As described in greater detail above, Defendants abused government healthcare
programs, including the Maryland Medicaid program, in connection with the improper billing of
modifiers Q6 and PS and the purposeful falsification of billing submissions.

77. Under the Maryland False Health Claims Act, Maryland Laws Ch. 4 (S.B. 279) 2-
602(a), Defendants have therefore violated:

i. Maryland Laws Ch. 4 (S.B. 279) 2-602(a)(1) by knowingly presenting or causing
to be presented a false or fraudulent claim for payment or approval;

ii. Maryland Laws Ch. 4 (S.B. 279) 2-602(a)(2) by knowingly making, using, or
causing to be made or used a false record or statement material to a false or
fraudulent claim; and

iii. | Maryland Laws Ch. 4 (S.B. 279) 2-206(a)(3) by conspiring to commit a violation
of Maryland Laws Ch. 4 (S.B. 279) 2-602.

78. Because of the false claims made by Defendants, the State of Maryland has
suffered and continues to suffer damages, and is therefore entitled to a recovery as provided by
the Maryland False Health Claims Act of an amount to be determined at trial, plus a civil penalty
of $5,500 to $11,000 for each violation.

PRAYER
WHEREFORE, Relator Jamie Williams, on behalf of the United States, the State of

Florida, and the State of Maryland, respectfully requests that:

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f.

Fuel

This Court enter an order determining that Defendants violated the Federal False
Claims Act, the Florida False Claims Act, and the Maryland False Health Claims
Act by making false statements and records to cause false claims to be submitted
to the United States, the State of Florida, and the State of Maryland;

This Court enter an order requiring Defendants to pay the maximum civil
penalties allowable to be imposed for each false or fraudulent claim presented to
the United States, each false or fraudulent claim presented to the State of Florida,
and each false or fraudulent claim presented to the State of Maryland;

This Court enter an order requiring that Defendants cease and desist from
violating the Federal False Claims Act, the Florida False Claims Act, and the
Maryland False Health Claims Act;

This Court enter an order requiring Defendants to pay all expenses, attorney’s
fees and costs associated with this action;

This Court enter an order paying Relator Jamie Williams the maximum statutory
award for her contributions to the prosecution of this action; and

Any and all other relief as this Court determines to be reasonable and just.

PLAINTIFF/RELATOR DEMANDS A TRIAL BY JURY ON ALL COUNTS

Dated: August 9, 2016

Respectfully submitted,

LL: ZO

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Counsel for Relator
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been furnished
by Certified Mail, Return Receipt Requested, this Gee day of August, 2016 to the following:

The Honorable Loretta E. Lynch
Attorney General of the United States
United States Department of Justice
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Washington, D.C. 20530-0001

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